               Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 1 of 8



                        IN THE UNITED STATE,S DISTRICT COTJRT
                            FOR THE DISTRICT OF COI,T]MBIA

                                   Holding a Criminal Term

                             Grand ,Iury Sworn in on May 5, 2015

TJNITED STATES OF AMERICA                          CRIMINAL NO.:

                                                   MAGISTRATE NO.: l6-MJ-00448

                                                   VIOLATIONS:

SHARAFAT ALI KHAN                                  l8 u.s.c.     $ 371
also known as "DR. NAKIB"                          (Conspiracy to Defraud the United States
                                                   and Conspiracy to flncourage and Induce
                                                   Aliens to Come to the United States for
                                                   Profit)

                                                   8 U.S.C. $    l32a(a)(l)(A)(iv) and (aXl)(B)(i)
                                                   (Encouraging and Inducing Aliens to Come
                                                   to the United States for Profit)

                                                   18   u.s.c.   $2
                                                   (Aiding and Abetting and Causing an Act to
                                                   Be Done)

                                                   18 u.s.c. $ e82(a)(6),8 U.S.C. $ 1321(b),
                                                   28 U.S.C. $ 2461(c), and 2l U.S.C. $ 853(p)
                                                   (Criminal Forfeiture)


                                      INDICTMENT
       The Grand Jury charges that:

                                          COUNT ONE

       At all times material to this Indictment:

                                           Introduction

       I   .      The def'endant, SHARAFAT         ALI KHAN,          also known as "DR. NAKIB.-

appears to be a Pakistani national with a permanen! legal residence in Brazil, and whose last
             Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 2 of 8



known residence was in Brazil.

        2.      The aliens ref'ened to herein are nationals of Pakistan, who had not received prior

olficial authorization to come to, enter, and reside in the United   States.

        3.      Pakistan is a country in South Asia bounded by India, China. Afghanistan, Iran.

and the Arabian Sea.

                                            The Consniracv

        4.      From on or about March 2014 through on or about May 2016. beginning in

Brazil. Venezuela, Peru, Ecuador, Colombia, Panama, Costa Rica, Nicaragua, Honduras. El

Salvador, Guatemala, and elsewhere, in the extraterritorial jurisdiction of the United States, and

pursuant to Title 18, United States Code, Section 3238, within lhe venue of the lJnited States

District Court for the District of Columbia. the defendant

                                     SHARAFAT ALI KHAN.
                                             "DR. NAKIB,"
                                    also knonn as

along with at least three others known and unknown to the Grand Jury, unlaufirlly, willfully and

knowingly combined, conspired, conf-ederated and agreed with one another and with others (a) to

defraud the United States by interfering with and obstructing a lawful govemment function, that

is. the enlbrcement of the immigration laws of the United States by deceit, craft, trickery, and

dishonest means, in violation of Title 18, United States Code, Section 371, and (b) to commit

off-enses against the United States, that is, to   knowingly encourage and induce aliens to come to.

enter. and reside in the United States, knowing and in reckless disregard of the fact that such

coming to, entry. and residence was and would be in violation             of law, tbr the purpose ol
commercial advantage and private financial gain, in violation of Title 8, United States Code,

Sections l32a(a)(l )(A)(iv) and   l32   (a)( I )(B)(i).


                                                Oveft Acts

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             Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 3 of 8



          5.       In furtherance ofthe conspiracy and to accomplish the objects of the conspiracy,

SHARAFAT           ALI KHAN      and his Coconspirators committed various overt acts within the

extraterritorial jurisdiction of the United States and elsewhere, including, but not limited to the

tbllowing:

                   a.     On or about.luly 8. 2014, Coconspirator A, an individual unknown to the

Grand Jury, provided Alien-KR with travel documents and instructions to travel from Pakistan to

Brazil.

                   b.     On or about July 8, 2014, Coconspirator B, an individual unknown to the

Grand Jury. met Alien-KR after Alien-KR arrived            in   Sao Paolo   Brazil.   Coconspirator B

instructed Alien-KR to go with Coconspirator       B.   Coconspirator B drove Alien-KR to a small

house.

                   c.     On or about July 9, 2014, Coconspirator B drove Alien-KR to a           bus

station, instructed Alien-KR to take a bus to Brasilia, Brazil, and provided Alien-KR with a bus

ticket to do so.

                   d.     On or about July 9, 2014, an individual who introduced himself as DR.

NAKIB, later identified by Alien-KR as SHARAFAT KHAN, met Alien-KR after Alien-KR

arrived in Brasilia.

                   e.     On or about July 8,2014, SHARAFAT KHAN told Alien-KR to give

SHARAFAT KHAN all of his money. Alien-KR gave SHARAFAT KHAN approximately'

$10.000.00 usD.

                   f.     On or about October 7, 2014, SHARAFAT KHAN instructed Alien-KR

that Alien-KR had an airline ticket to fly to Venezuela.

                   g.     On or about October 9,2014, SHARAFAT KHAN drove Alien-KR to the



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             Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 4 of 8



Brasilia Airport and gave Alien-KR an airline ticket to fly to Venezuela. Alien-KR took a flight

from Brasilia to Venezuela.

                h.     On or about September 19. 2015, SHARAFAT KHAN sent a text

message to Alien-HB, indicating that     SHARAFAT KHAN knew that Alien-HB was arriving in

Brazil and that two individuals would be waiting for Alien-HB at a bus stop in Brasilia.

                i.     On or about September 22, 2015, SHARAFAT KHAN sent a text

message to   Alien-HB and agreed to meet Alien-HB at      a bus stop.

                j.     On or about September 22,2015. SHARAFAT KHAN met with Alien-

HB and introduced Alien-HB to two other individuals, Unknown Alien          #l   and Unknown Alien

#2. SHARAFAT KHAN told Alien-HB that SHARAFAT KHAN would get Alien-HB to the

United States, and that Unknown Alien         #l   and Unknown Alien #2 would be traveling with

AIien-HB.

                k.     On or about September 22,2015, SHARAFAT KHAN purchased bus

tickets fbr Alien-HB. Unknown Alien      #l   and Unknown Alien #2.

                l.     On or about September or October 2015, when Alien-t{B was in Panama

Ciry, SHARAFAT KHAN texted Alien-HB and instructed Alien-HB ro go to a hotel and tell the

person at the front desk that   Alien-t{B was Sharafat ofBrazil's person.

                m.     On or abour December 14,2015, Alien-HB rexred SHARAFAT KHAN

requesting money for travel through Nicaragua.

                n.     On or about December 14,2015, SHARAFAT KHAN sent $234.26 via

wire lransfer through a wire transler company, Company A, 1o Alien-HB                  in   Managua,

Nicaragua.

                o.     On or about October 7. 2015. Alien-AP flew from Pakistan to             Saudi



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           Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 5 of 8



Arabia, then from Saudi Arabia to Sao Paolo, Brazil.

                 p.   On or about October 7,2015, Alien-AP took a bus from Sao Paolo, Brazil

to Brasilia, Brazil. SHRAFAT KHAN picked up Alien-AP at the bus stop in Brasilia and took

Alien-AP to SHARAFAT KHAN's house.

                 q.   On or about October 7, 2015, Alien-AP paid SHARAFAT KHAN

approximately $5,000.00 USD in order to travel to the United States. SHARAFAT KHAN told

Alien-AP that Alien-AP needed to pay an additional $5,000.00 USD along the route to the

United States.

                 r.   On or about November or December, 2015, Coconspirator C provided

Alien-AP with shelter during a stop in Guatemala. Coconspirator C arranged for Alien-AP to

stay for five to six days at Coconspiralor C's home betbre Alien-AP crossed the border into

Mexico.

                 s.   On or about May, 2014, Coconspirator D, an individual known to the

Grand Jury, made arrangements lor Alien-NT and Alien-AS to travel to the United States in

exchange lor $20,000.00 USD.

                 t.   On or about May, 2014, Coconspirator D obtained visas fbr Alien-NT and

Alien-AS fbr travel to Dubai.

                 u.   On or about May,2014, Coconspirator E met Alien-NT and Alien-AS in

Dubai and provided AIien-NT and Alien-AS visa to enter the Dominican Republic.

                 v.   On or about May,2014. Coconspirator E provided Alien-NT and Alien-

AS airline tickets to fly lrom Dubai to Morocco, from Morocco to Sao Paolo, Brazil, and from

Sao Paolo. Brazil to the Dominican Republic.

                 w.   On or about May,20l4, Coconspirator E instructed Alien-NT and Alien-



                                               5
             Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 6 of 8



AS to leave the airpo( in Sao Paolo and contact Coconspirator D.

                   x.    On or about June or July, 2014, Coconspirator C provided shelter fbr

Alien-N'I and Alien-AS during a stop in Guatemala. Coconspirator C arranged lbr Alien-NT

and Alien-AS to stay tbr two days before Alien-NT and Alien-AS crossed the border into

Mexico.

        (Conspiracy to Defraud the United States and Conspiracy to Encourage and
        Induce Unauthorized Aliens to Come to the United States for Commercial
        Advantage and Private Financial Gain, in violation of Title 18, United States
        Code. Section 371).

                                      COUNTS TWO throueh SEVEN

        6.         Paragraphs   I   through 5 ol Count One of this Indictment are re-alleged as if fully

set forth herein.

        7.         On or about the dates listed below, beginning in Brazil, Venezuela,             Peru,

Ecuador, Colombia, Panama. Costa Rica, Nicaragua, Honduras, El Salvador. Guatemala. and

elsewhere. in the extraterritorial jurisdiction       ol the United   States. and pursuant   to Title   18,


United States Code, Section 3238, within the venue of the United States District Court for the

District of Columbia. the defendant

                                          SHARAFAT ALI KHAN,
                                                  "DR. NAKIB,"
                                         also krown as

along with at least three others known and unknown to the Grand Jury, knowingly encouraged

and induced aliens. as set tbrth below in Counts Two through Seven, to come to. enter, and

reside in the United States, knowing and in reckless disregard of the fact that such coming to.

entry. and residence was and would be in violation             of law. for the purpose of    commercial

advantage and private linancial gain,

          COUNT           AI.,IE,N                           DATE
               1        Alien-HB           on or about September 19, 2015 through on or

                                                         6
             Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 7 of 8



                                            about January 29,2016
              J        Alien-KR             on or about .luly 8, 2014 through on or about
                                            February 24,2015
              4        Alien-AP             on or about October 7, 2015 through on or about
                                            February 10,2016.
              5        Alien-NT             in or around May 2014 through on or about
                                            October 28, 201 5
              6        Alien-AS             in or around May 2014 through on or about
                                            October 28, 201 5
              7        Alien-S   U   R      on or about October 5. 2014 through on or about
                                            May 25,2015

        (Encouraging and Inducing an Alien to Come to the United States for Profit
        and Aiding and Abetting and Causing an Act to Be Done. in violation of Title
        8, United States Code, Section 1324(a)(l)(A)(iv), (a)(l)(B)(i), and Title 18, Ljnited
        States Code, Section 2).

                                         FORFEITURE ALLEGATION

        8.        Upon conviction ol any of the ot'tenses alleged in Counts One through Seven of

this Indictment. the defendant

                                            SHARAFAT ALI KHAN.
                                          also knoun as "DR. NAKIB."

shall forfeit to the United States:

                  a.     any conveyance, including any vessel, vehicle, or aircraft, used in the

commission of the offenses, pursuant to l8 U.S.C. Section 982(a)(6)(A)(i)l

                  b.     any property. real or personal, that constitutes, or is derived from or is

traceable to the proceeds obtained directly or indirectly from the commission     ofthe offenses, and

any property, real or personal, that was used to facilitate, or was intended to be used to f'acilitate,

the commission     olthe offenses, pursuant to l8 U.S.C. Section 982(a)(6)(A)(ii): and

                  c.     any conveyance, including any vessel, vehicle, or aircraft, that has been or

is being used in the commission of the offenses, the gross proceeds of such violations, and any

property traceable to such conveyances or proceeds, pursuant to Title 8, United States code,



                                                       7
              Case 1:16-cr-00096-RBW Document 4 Filed 06/07/16 Page 8 of 8



Section 1 324(b) and Title 28, United States Code, Section 2461 (c).

        The United States       will also seek a forfeiture      money judgment against del'endant

SHARAFT KHAN equal to the value of:

                 a.     any property, real or personal,   that   constitutes, or is derived liom or is

traceable to the proceeds obtained directly or indirectly tiom the commission of the offenses; and

                 b.     the gross proceeds ol such violations, and any property traceable to such

proceeds.

        9.       If any ofthe property described   above as being subject to fbrf'eiture. as a result    of

any act or omission oldefendant     SHARAFAT KHAN:

                 a.     cannot be located upon the exercise ofdue diligence;

                 b.     has been transferred or sold to, or deposited   with.   a   third party:

                 c.     has been placed beyond     thejurisdiction ofthe Court;

                 d.     has been substantially diminished in value; or

                 d.     has been commingled     with other property that cannot be divided without

dilficulty;

del'endant SHARAFAT           KHAN shall forl'eit to the United States any other property of            the

def-endant, up to the value   ofthe property described above, pursuant to 2l U.S.C.         S 853(p).

        (Criminal Forfeiture, pursuant to Title 18, United States Code,                      Section
        982(a)(6), Title 8, United States Code, Section 1324(b), Title 28, United Srates
        Code, Section 2461(c). and Title 2l, United States Code. Section 853(p))

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and lor the District of Columbia


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